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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


KEILEE FANT, et al.,                          )
                                              )
                Plaintiffs,                   )
                                              )
          vs.                                 )          No. 4:15-CV-00253-AGF
                                              )
THE CITY OF FERGUSON,                         )
                                              )
                Defendant.                    )


                               MEMORANDUM AND ORDER

       Plaintiffs in this putative class action claim that they have been jailed by

Defendant, the City of Ferguson (the “City”), on numerous occasions because they were

unable to pay cash bonds or other debts resulting from their traffic and other minor

offenses. Plaintiffs allege that, in violation of the United States Constitution and as a

matter of the City’s policies and practices, they were not afforded counsel, any inquiry

into their ability to pay, or a neutral finding of probable cause in a prompt manner; and

they were held in jail indefinitely, in overcrowded and unsanitary conditions, until they or

their friends or family members could make a monetary payment sufficient to satisfy the

City, as part of a broad, revenue-generating scheme. Plaintiffs’ amended complaint

asserts seven claims pursuant to 42 U.S.C. § 1983, under the Fourth, Sixth, and

Fourteenth Amendments. They seek compensatory damages as well as declaratory and

injunctive relief.

       The City moves to dismiss, for failure to join a party under Federal Rule of Civil

Procedure 19, all claims in Plaintiffs’ first amended complaint except the claim relating
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to conditions of confinement (Count IV). This is the fourth motion to dismiss filed by

the City in this now four-year-old case. This motion asserts arguments similar to those

raised in prior motions but reframes them in terms of Rule 19. In short, the City argues

that Plaintiffs’ constitutional challenges are directed solely to the conduct of the Ferguson

Municipal Court (the “municipal court”), which the City argues is a separate entity, and

that the municipal court is therefore required to be joined as a co-defendant under Rule

19(a). But the City argues that joinder is not feasible because the municipal court is an

arm of the state under Missouri law and, as such, entitled to sovereign immunity. The

City contends that because there is a potential for injury to the interests of the municipal

court and because the municipal court is immune from suit, dismissal of the claims at

issue is required under Rule 19(b). For the reasons set forth below, the Court will deny

the City’s motion.

                                      DISCUSSION

       Federal Rule of Civil Procedure 12(b)(7) permits dismissal of a claim for failure to

join a party under Rule 19. Rule 19, in turn, sets forth a two-part inquiry. First, the

Court must determine whether the absent person’s presence is “required.” Fed. R. Civ.

P. 19(a)(1). Joinder is required when:

        (A) in that person’s absence, the court cannot accord complete relief
        among existing parties; or

        (B) that person claims an interest relating to the subject of the action and
        is so situated that disposing of the action in the person’s absence may:

              (i)    as a practical matter impair or impede the person’s ability to
              protect the interest; or



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              (ii)   leave an existing party subject to a substantial risk of incurring
              double, multiple, or otherwise inconsistent obligations because of the
              interest.

Fed. R. Civ. P. 19(a)(1).

       “[T]he focus of Rule 19(a)(1) is on relief between the parties and not on the

speculative possibility of further litigation between a party and an absent person.”

Cedar Rapids Bank & Tr. Co. v. Mako One Corp., 919 F.3d 529, 534–35 (8th Cir. 2019)

(citation omitted). When joinder is not required under Rule 19(a), “the inquiry is at an

end, and the motion to dismiss for failure to join the party in question must be denied.”

Rochester Methodist Hosp. v. Travelers Ins. Co., 728 F.2d 1006, 1016 (8th Cir. 1984).

       If joinder is required but not feasible, the Court must proceed to the second step

and “determine whether, in equity and good conscience, the action should proceed among

the existing parties or should be dismissed,” considering several enumerated factors.

Fed. R. Civ. P. 19(b). Factors to consider include (1) the extent to which a judgment in

the required person’s absence might prejudice that person or the existing parties; (2) the

extent to which such prejudice could be lessened or avoided by protective provisions or

otherwise shaping the relief to be granted; (3) the adequacy of a judgment rendered in the

person’s absence; and (4) whether the plaintiff would have an adequate remedy if the

action were dismissed for nonjoinder. Fed. R. Civ. P. 19(b). In analyzing these factors

in the context of a claim of sovereign immunity, the Court must give sufficient weight to

the sovereign status of the absent person, which “in some instances, [will mean] that the

plaintiffs will be left without a forum for definitive resolution of their claims.” Republic

of Philippines v. Pimentel, 553 U.S. 851, 872 (2008).


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         The Rule 19 inquiry is a “highly-practical, fact-based endeavor,” and courts are

“generally reluctant to grant motions to dismiss of this type.” Fort Yates Pub. Sch. Dist.

No. 4 v. Murphy ex rel. C.M.B., 786 F.3d 662, 671 (8th Cir. 2015). “A decision under

Rule 19 not to decide a case otherwise properly before the court is a power to be

exercised only in rare instances.” Nanko Shipping, USA v. Alcoa, Inc., 850 F.3d 461,

465 (D.C. Cir. 2017) (emphasis in original) (citation omitted).

       The Court concludes that the municipal court (perhaps more properly referenced

as the municipal division) is not a required party under Rule 19(a). Rule 19(a)(1)(A)’s

condition that a court be able to accord complete relief “does not mean that every type of

relief sought must be available, only that meaningful relief be available.” Henne v.

Wright, 904 F.2d 1208, 1212 n.4 (8th Cir. 1990) (internal citations omitted). Here, the

Court is able to accord meaningful relief to Plaintiffs without joinder of the municipal

court. Plaintiffs seek money damages from the City, a declaration that the City violated

their constitutional rights, and an injunction enjoining the City from enacting and

enforcing its allegedly unlawful policies and customs. The Court may provide such

relief to the extent that Plaintiffs’ claims prove to be viable and meritorious. The City’s

argument that the municipal court, and not the City, caused the alleged constitutional

violations may be a reason to deny relief on Plaintiffs’ claims,1 but it does not support a


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       Plaintiffs’ claims arise out of arrests dating back to 2010. Although the City cites
to Missouri Supreme Court Rule 37.04, governing supervision of courts hearing
ordinance violations, in support of its argument, the current version of that Rule was not
adopted until 2016. The 2016 amendment required, for the first time, that municipal
courts operate in substantial compliance with certain minimum operating standards,
which were not made effective until July 1, 2017. See Mo. S. Ct. R. 37.04 & 37.04 app.
A (amended Sept. 20, 2016, eff. July 1, 2017). Moreover, although the City argues that
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finding under Rule 19(a)(1) that joinder of the municipal court is required. See, e.g.,

Gwartz v. Jefferson Mem’l Hosp. Ass’n, 23 F.3d 1426, 1429 (8th Cir. 1994) (“Whether

the asserted facts support claims other than the ones before the court or whether the

complaint here adequately states [the plaintiffs’] claims . . . are not the issues under Rule

19(a)(1).”).

       Likewise, under Rule 19(a)(1)(B), even assuming that the municipal court has an

interest relating to the subject of the action, disposition of the action in the municipal

court’s absence will not as a practical matter impair or impede the municipal court’s

ability to protect its interest. See Fed. R. Civ. P. 19(a)(1)(B)(i). In support of its

argument to the contrary, the City relies primarily on the Eighth Circuit’s opinion in Two

Shields v. Wilkinson, 790 F.3d 791 (8th Cir. 2015). In that case, the plaintiffs claimed

that the named defendants induced an absent sovereign, the United States, to breach its

fiduciary duty by approving leases for interests in land held in trust. Id. at 792-93. In

other words, in order to prevail on their claims against the named defendants, the

plaintiffs were required to prove that the absent sovereign acted illegally. Id. at 796. A

judgment entered in the sovereign’s absence would thus “potentially cloud the validity of

many of the land grants approved by the government.” Id. For this reason, the Eighth

Circuit found that the United States’ ability to protect its interest would be impaired or

impeded by its absence from the litigation. Id. at 797.




Plaintiffs’ allegations concern solely municipal court functions, Plaintiffs also allege, for
example, that the City’s chief of police negotiated cash payments from Plaintiffs directly
in exchange for their release from jail, without the involvement of the municipal court.
E.g., ECF No. 53 ¶¶ 29-30.
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       By contrast, here, none of Plaintiffs’ claims requires a showing that the municipal

court acted illegally. Rather, for Plaintiffs to succeed on their claims, they must

demonstrate that the City acted unlawfully.2 See Fochtman v. Darp, Inc., No. 5:18-CV-

5047, 2018 WL 3148113, at *6–7 (W.D. Ark. June 27, 2018) (distinguishing Two Shields

on this ground and holding that an absent sovereign’s more remote interest in the

outcome of a case was insufficient to require joinder).

       Nor would the municipal court’s absence subject the City to a substantial risk of

incurring double or otherwise inconsistent obligations. See Fed. R. Civ. P.

19(a)(1)(B)(ii). The City’s own argument supports such a holding. The City asserts

that, as a matter of law, it cannot be held liable for the municipal court’s conduct. If the

City is correct, and if the actions complained of were caused by the municipal court, then

as explained above, Plaintiffs’ claims may fail on the merits. But resolution of these

issues does not require the municipal court’s joinder. See Gwartz, 23 F.3d at 1430.

Because the municipal court is not a required party under Rule 19(a), the Court need not

address whether dismissal is required under Rule 19(b). The City’s motion must be

denied. In light of the extensive briefing submitted on these issues, oral argument is

unnecessary.


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       The other cases relied upon by the City are even more readily distinguishable.
Pimentel was an interpleader action in which the parties conceded that the absent
sovereign claiming an interest in the assets at issue was a required party under Rule 19(a).
553 U.S. at 864. And Ray v. Judicial Corrections Services, Inc., No. 2:12-CV-02819-
RDP, 2017 WL 660842 (N.D. Ala. Feb. 17, 2017) and McMillian v. Johnson, No. CV-
93-A-699-N, 1994 WL 904652 (M.D. Ala. Feb. 18, 1994), were not Rule 19 cases at all
but involved motions for summary judgment and to dismiss for failure to state a claim,
respectively, which are more appropriate vehicles for resolving merits arguments like the
ones the City raises.
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                                      CONCLUSION

      For the reasons set forth above,

      IT IS HEREBY ORDERED that Defendant’s motion to dismiss Counts I

through III and V through VII, and motion for a hearing, are both DENIED. ECF Nos.

223 & 226.


                                              _______________________________
                                              AUDREY G. FLEISSIG
                                              UNITED STATES DISTRICT JUDGE

Dated this 6th day of August, 2019.




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